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Carmen SuareZ-Smith

11003 Dornoch Castle Street

Las Vegas, Nevada 89141

(702) 810-5499

Plaintijj” pro se <9}¢

UNITED STATES DISTRICT COURT

 

DISTRICT OF NEVADA

Carmen Suarez-Smith, Cas<

Plaimiff, 2: 1 6-cv-O1478-KJD-PAL

VS.

Bank Of America, N.A., S/b/m BAC Home LOanS COMPLAINT FOR ENFORCEMENT OF
Servicing, L.P. f/k/a COuntryWide Home LOanS, RESCISSION OF MORTGAGE LOAN,

Inc.; New Penn Financial LLC d/b/a Shellpoint FOR INJUNCTIVE RELIEF_ OR IN THE
Mortgage Servicing; Sables, LLC; and The Bank ALTERNATIVE QUIET TI,i~LE ’
of New York Mellon f/k/a The Bank of New York ’

as Trustee for the Alternative Loan Trust 2007-6,
Defendants.

 

 

 

 

Plaintiff Carrnen Suarez-Smith (“Plaintiff”), appearing pro se, hereby alleges and complains as

follows:
PARTIES

l. Plaintiff is Carmen Suarez-Smith, 11003 Dornoch Castle Street, Las Vegas, Nevada
89141. Defendants are Bank of America, N.A., s/b/m BAC Home Loans Servicing, L.P. f/k/a
Countrywide Home Loans, Inc. (“BANA”), 400 National Way, Simi Valley, California 93065; New
Penn Financial LLC d/b/a Shellpoint Mortgage Servicing (“Shellpoint”), 75 Beattie Place, Suite
300, Greenville, South Carolina 29601; Sables, LLC (“Sables”), 3753 Howard Hughes Parkway,
Suite 200, Las Vegas, Nevada 89169; and The Bank of New York Mellon f/k/a The Bank of New
York (“BNYM”) as Trustee for the Alternative Loan Trust 2007-6 (the “securitized trust”), 101
Barclay Street 4W, New York, New York 10007.

JURISDICTION and VENUE
2. Jurisdiction arises under Title 15 U.S. Code § 1635 (Right of Rescission as to Certain

Transactions). This court has authority to hear Federal Law pursuant to 28 U.S.C. § 1331 (Federal

 

 

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Question).

3. This court also has supplemental jurisdiction over all other claims that are so related to
claims in this action that they form part of the same case or controversy under Article III of the United
States Constitution, pursuant to 28 U.S.C. § 1367.

4. Venue is properly laid in the Federal Court of the United States in the Judicial District
of Nevada, pursuant to 28 U.S.C. § 1391(c).

5. Plaintiff avers that the court has in personam jurisdiction over the named Defendants as
Defendants are subject to the Jurisdiction of this Federal Court by the following facts:

(a) Each Defendant herein is subject to Title 12 U.S.C. § 2605 (Servicing of

Mortgage Loans and Administration of Escrow Accounts) and/or Title 15 U.S. Code § 1635

(Right of Rescission as to Certain Transactions) by either

(i) acting as a mortgage loan servicer on behalf of the purported “creditor” to
the transaction, which “creditor” was intended to be an “investment” (securitized) trust
created for the purpose of converting Plaintiff’ s loan - along with many others - into
mortgage-backed securities, but transfer of legal ownership of Plaintiffs’ loan to this
securitized trust was never completed in accordance with the trust agreements and
controlling trust law;

(ii) concealing the true ownership of the subject loan;

(iii) misrepresenting the application of Plaintiffs’ payments;

(iv) holding itself out as the purported “creditor” with no authority to do so;
and/or

(v) otherwise expressing an interest in the enforcement and/or foreclosure of the
subject loan.

NATURE OF THE ACTION & FACTUAL BACKGROUND

6. This case arises out of Plaintist rescission of a certain mortgage loan by way of notice
correspondence (“Rescission Letter”) submitted via Certified Mail to Defendant BANA, who held
itself out as the “creditor” at the time the Rescission Letter was mailed and delivered.

7. The said mortgage loan was “originated” by a now-defunct company known as

 

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“Countrywide Home Loans, Inc.” (“Countrywide”), and purportedly “secured” real property located in
Clark County, Nevada, and commonly known as 11003 Dornoch Castle Street, Las Vegas, Nevada
89141. The Deed of Trust, which contains the property’s legal description, was recorded in Clark
County, Nevada.

8. Plaintiff soon began to discover the fact that virtually 100% of loans originated by
Countrywide were already pre-sold into the secondary market for the purpose of converting said loans
into securities (a process hereafter referred to as “securitization”). The ramifications of securitizing
Plaintiffs’ loan include, among other things, (1) that the loan was not actually funded by Countrywide,
but instead, was funded by monies which had been solicited in advance from undisclosed secondary-
market investors; (2) that the Plaintiff’s monthly mortgage payments would ultimately be disbursed to
said investors as “returns” under terms and conditions which differed greatly from those represented in
the loan documents which Plaintiff was induced to sign under false pretenses; and (3) that no creditor
existed that applied, or was capable of applying, Plaintiff’s mortgage payments toward “principal” and
“interest” as was stated throughout the mortgage loan documents

9. As a result of the securitization of Plaintiff s loan, the actual transaction which
occurred, and through which the Plaintiff’s payments were “serviced,” was not described in the subject
Note and Deed of Trust. Therefore, the transaction which was described in the Note and Deed of
Trust never happened. Consequently, the rights and obligations of the parties were also
misrepresented in the said loan documents

lO. Because the transaction in the loan documents never transpired, there was never any
“closing” or “consummation” of said transaction. Additionally, because the actual transaction - a
disguised securities transaction - which did transpire was never disclosed to the Plaintiffs, that
securities transaction also never “closed” or was “consummated.”

11. In or around 2008, Countrywide failed and was succeeded by Defendant BANA, who
purportedly acquired all the assets and liabilities of the failed institution. Plaintiff Was subsequently
notified by BANA to make all hirther payments to BANA. In all statements and correspondence sent
to the Plaintiffs, never once did BANA reveal to the Plaintiff the truth regarding, among other things,
(1) that the Plaintiff’s loan had been securitized; (2) the fact that the loan was not funded by

 

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Countrywide; or (3) the fact that the monthly mortgage payments would not be applied toward
“principal” and “interest” as was stated in the loan documents. Instead, BANA continued to represent
that it was the “creditor” when it was not, and continued to enforce the collection of payments as if
every representation in the loan documents were true and correct, when, in fact, they were not.

12. Plaintiff’s research verified that her loan had indeed been securitized into a trust for
which Defendant BNYM purportedly acted as “trustee.” This fact has been confirmed several times
thereafter, most recently in a “Notice of Breach and Default and of Election to Sell the Real Property
Under Deed of Trust” (“Notice of Default”) recorded in Clark County, Nevada on or about May 25,
2015 . Said Notice of Default claims - falsely and/or incorrectly _ that Defendant BNYM is both the
“holder of the note” and the “beneficiary of record” of the Deed of Trust.

13. On or about October 13, 2010, Plaintiff submitted a Rescission Notice to BANA via
Certified Mail #7008 1830 0003 7443 3191, notifying BANA of Plaintiff’ s intention to exercise her
right to rescind the loan under applicable federal law, clearly identifying the loan by number and
plainly stating their reasons for the rescission. The Rescission Notice made it clear that because the
disguised securities transaction was never disclosed to the borrower, the “loan closing was never
completed” and that the “right of rescission was never waived nor did it expire.” Defendant BANA
received and signed for the Rescission Notice on or about October 15, 2010. A copy of the said
Rescission Notice is attached hereto as Exhibit “l .”

14. According to the federal rescission statute at 15 U.S.C. § 1635(b), Defendant BANA
was required, within twenty (20) days of receipt of Plaintiff’s Rescission Notice, to either (a) honor the
rescission and return all the monies Plaintiff paid into the loan since its origin, or (b) file a judicial
action challenging the validity of Plaintiff’ s rescission, seeking a declaration to that effect. In
accordance With the above statute, if the noticed party fails to challenge the rescission by initiating a
judicial action for such relief within the twenty day period, that party forever waives the right to raise
challenges or defenses thereto.

15. lt has been more than twenty-one (21) days since Defendant BANA Mortgage
Corporation received Plaintiff’s Rescission Notice,

16. On information and belief, BANA never obtained a judicial declaration invalidating

 

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Plaintiff’s rescission, nor did BANA commence a judicial action challenging Plaintiff`s rescission
within twenty days of having received the Rescission Notice.
17 . Additionally, BANA never, at any time, honored the terms of the rescission by
returning Plaintiff’s money and terminating the security interest (Deed of Trust) as required by law.
18. BANA is in violation of 15 U.S.C. § 1635(b), which states, in pertinent part:
(b) Return of money or property following rescission
When an obligor exercises his right to rescind under subsection (a) of this
section, he is not liable for any finance or other charge, and any security interest given
by the obligor, including any such interest arising by operation of law, becomes void
upon such a rescission, Within 20 days after receipt of a notice of rescission, the
creditor shall return to the obligor any money or property given as earnest money,
downpayment, or otherwise, and shall take any action necessary or appropriate to
reflect the termination of any security interest created under the transaction. If the
creditor has delivered any property to the obligor, the obligor may retain possession of
it. Upon the performance of the creditor’s obligations under this section, the obligor
shall tender the property to the creditor, except that if return of the property in kind
would be impracticable or inequitable, the obligor shall tender its reasonable value.
Tender shall be made at the location of the property or at the residence of the obligor, at
the option of the obligor, If the creditor does not take possession of the property within

20 days after tender by the obligor, ownership of the property vests in the obligor
without obligation on his part to pay for it. [Emphasis added.]

19. On or about January 24, 2011 (several months after the subject loan had been
rescinded), non-party Defendant Mortgage Electronic Registration Systems, Inc. (“MERS”) recorded
in Clark County, Nevada, an “Assignment of Deed of Trust” (“Assignment”) executed by a person
purporting to act as “Assistant Secretary,” in which MERS purported to “assign” the beneficial interest
in Plaintiff’s Deed of Trust “together with the note” to Defendant BNYM as Trustee of the subject
securitized trust. lt is anticipated that, as a result of this fabricated attempt to “assign” a loan which
was rescinded years ago, U.S. Bank will pursue a non-judicial foreclosure

20. In addition, in or around 2015, Defendant New Penn Financial LLC d/b/a Shellpoint
Mortgage Servicing purportedly became the loan “servicer” and in or around October of 2015,
Defendant Sables, LLC purported to be substituted as Trustee of the subject Deed of Trust by BNYM,
acting as “beneficiary.” These entities continue their attempts to enforce the subject loan obligation

which has long since been rescinded by operation of law.

 

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21. Plaintiff therefore seeks the following relief from the instant Court: (l) a Declaration
that the Defendants, and each of them, have waived all defenses and challenges to the Plaintiff’s
Rescission Notice by failing to timely comply with or challenge same within the twenty (20) day
period of having received the Notice; (2) an Order directing Defendant BANA to comply with the
terms of 15 U.S.C. § l635(b) as they pertain to the rescission of Plaintiff’s loan, i.e., the repayment of
all monies Plaintiff paid as earnest money, loan payments and fees, and the termination of the security
interest in the subject property currently recorded in Clark County, Nevada; and (3) Injunctive Relief
enjoining Defendants New Penn Financial LLC d/b/a Shellpoint Mortgage Servicing; Sables, LLC;
and The Bank of New York Mellon f/k/a The Bank of New York as Trustee for the Altemative Loan
Trust 2007-6 from any further enforcement and/or foreclosure proceedings against the Plaintiff. In the
alternative to Injunctive Relief, Plaintiff requests that the Court quiet title in favor of the Plaintiff,
removing all claims and other recorded interests by the Defendants who have failed to obey their
obligations under the above rescission statute.

FIRST CAUSE OF ACTION
ENFORCEMENT OF RESCISSION UNDER 15 U.S.C. § 1635
(Defendant BANA)

22. Plaintiff repeats and re-alleges all prior paragraphs as though fully set forth here.

23. At all times relevant, Defendant BANA held itself out to the Plaintiff as the “creditor”
of the subject loan. BANA never once indicated that the payments Plaintiff had been making were
actually being disbursed to a different entity under terms and conditions which differed greatly from
those contained in the loan documents executed by the Plaintiff.

24. For the reasons stated herein, Plaintiff submitted a Rescission Notice to Defendant
BANA via Certified Mail, on or about October 13, 2010. Said Rescission Notice was received and
signed for by BANA on or about October 15, 2010. The Rescission Notice complied with 15 U.S.C. §
1635; thus, in accordance with the 2015 United States Supreme Court ruling in Jesz`noski v.
Countrywide (Case No. 13-684), notice that the subject loan had been rescinded was legally and
properly served to BANA.

25. Under 15 U.S.C. § 1635(b), Defendant BANA was required to either (a) honor the

 

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terms of the rescission by returning to the Plaintiffs all the monies they had paid toward the loan since
its origin and terminating the security interest (Deed of Trust) recorded in the property records of
Clark County, Nevada; g (b) challenge the rescission by commencing a judicial action in a court of
competent jurisdiction, within twenty (20) days from the date it received Plaintiff’s Rescission Notice.

26. lt has been more than twenty-one (21) days since Defendant BANA signed for and
received Plaintiff’s Rescission Notice, and yet, BANA never returned Plaintiff’s money, nor was
Plaintiff ever served with a summons for any judicial action seeking to challenge Plaintiff" s rescission
of the subject loan.

27. Having waived its opportunity to judicially challenge Plaintiff’s statutory rescission,
Defendant BANA is now barred from all defenses or challenges thereto.

28. Defendant BANA is still legally liable for the return of all of Plaintiff’ s monies which
were paid into the loan before it was rescinded (via submission and receipt of PlaintifPs Rescission
Notice), as well as terminating the recorded security interest (Deed of Trust).

29. Therefore, Plaintiff seeks an Order from this Honorable Court compelling BANA to
comply with its obligations under 15 U.S.C. § 163 5(b) and to (l) return to the Plaintiff all the monies
which were paid into and toward the subject loan, including, but not limited to, earnest money, down
payment, monthly mortgage payments, and all fees related to such payments; and (2) terminate, cancel
and/or expunge the subject security interest (Deed of Trust) recorded in the property records of Clark
County, Nevada.

30. ln addition, to confirm both the total amount of monies Plaintiff paid into the subject
loan, and whether the monthly mortgage payments were properly applied toward “principal” and
“interest,” Plaintiff requests an Order by the Court directing Defendant BANA to provide a true and
correct accounting which shows how and to whom all payments and fees paid by the Plaintiff were
disbursed since the origination of the loan.

31. Plaintiff further seeks an award of equitable compensatory damages, in an amount to be
determined at trial, based on this Defendant’s failure to comply with the federal statute cited herein
which required it to act on Plaintiff’ s Rescission Notice within twenty (20) days, which damages

should include, but not be limited to, prejudgment interest on the total amount of monies (actual

 

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damages) which were required to be returned to the Plaintiff within the statutory time limit following
submission of the Rescission Notice. Based on the fact that Plaintiff is a senior, this amount may be
trebled.

32. Finally, Plaintiff seeks an award for her costs and legal fees incurred in the
commencement and pursuance of this action.

SECOND CAUSE OF ACTION
INJUNCTIVE RELIEF / QUIET TITLE
(All Defendants)

33. Plaintiff repeats and re-alleges all prior paragraphs as though fully set forth here.

34. Subsequent to the rescission of the subject loan, and directly as a result of BANA’s
failure to comply with its obligations under 15 U.S.C. § 1635(b), the other Defendants to this action
have, at one time or another, expressed an interest in pursuing the unlawful collection, enforcement,
and/or foreclosure of the said loan and the real property associated therewith, even though the loan is
now rescinded by operation of law. The purported interests of the Defendants include, but are not
limited to the following:

a. BNYM has been listed _ falsely - as the “note holder” and “beneficiary” since
the recordation of the fabricated “Assignment of Deed of Trust” recorded by
MERS and robo-signed by a person claiming to be an “officer” of MERS when
MERS has no officers or employees; and in addition, the securitized trust for
which BNYM purports to act as “trustee” was prohibited - by its own
agreements - from acquiring Plaintiff’s loan in the manner attempted by the
parties;

b. New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing has submitted
various correspondences to the Plaintiff stating it has become the new loan
“servicer” and expressing a clear intent to pursue foreclosure if the supposed
“past due balance” is not paid or the purported “default” not cured; and

c. Sables, LLC claims it has become the “substituted trustee” of the subject Deed

of Trust by way of a “Substitution of Trustee” (“Substitution”) recorded in

 

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Clark County on or about October 16, 2015 , and would be the entity called upon
to conduct a non-judicial foreclosure at the behest of the purported
“beneficiary.”

35. Since BANA always held itself out as the “creditor” to the Plaintiff at the time Plaintiff
submitted her Rescission Notice, it was BANA’s duty not only to honor its obligations under 15
U.S.C. § 1635(b) to return to the Plaintiff all the monies remitted by her toward repaying the loan and
to terminate the Deed of Trust, but also, to notify all other interested parties that the subject loan had
been rescinded by operation of law, since obviously, Plaintiff could not notify, and thus was under no
obligation to notify, such interested parties of which she had no knowledge as to their existence. As
such, Plaintiff does not seek monetary damages against these Defendants at this time.

36. However, based on the instruments which have been fabricated and recorded in Clark
County, Nevada, concerning this matter subsequent to the subject loan’s rescission, it is expected that
these other Defendants will attempt to pursue a “foreclosure” of the subject loan with the intent of
taking Plaintiff’s property under such false pretenses For this reason, Plaintiff seeks a Perrnanent
Injunction forever enjoining these Defendants and all other parties from pursuing any further
“enforcement” or “foreclosure” of the subject loan obligation which no longer legally exists.

37. As an alternative to a Perrnanent lnjunction, Plaintiff requests that the Court quiet the
title records in favor of Plaintiff, removing all false, rogue or otherwise invalid claims which remain as
a result of the Defendants’ failure to honor their obligations under 15 U.S.C. § 1635 (b).

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MM
WHEREFORE, having set forth a legally sufficient cause of action against the named
Defendants, Plaintiff prays that the Court issue Orders and award damages as stated herein, and for

such other and further relief which the Court may deem just and proper.

Respectfully submitted this let day of June, 2016.

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Carmen $/u(arez-M

11003 Domoch Castle Street
Las Vegas, Nevada 89141
(702) 810-5499

Plaintiff pro se

 

 

 

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VERIFICATION

I, Carmen SuareZ-Smith, am the Plaintiff in the above-entitled action. l have read the foregoing
COMPLAINT FOR ENFORCEMENT OF RESCISSION OF MORTGAGE LOAN; FOR
INJUNCTIVE RELIEF; OR, IN THE ALTERNATIVE, QUIET TITLE and know the contents
thereof. The same is true of my own knowledge, except as to those matters which are therein alleged
on information and belief, and as to those matters, l believe them to be true.

{/

Carmen Su§reZ-S

  

 

STATE OF NEVADA )
) s.s.
COUNTY OF CLARK )

This instrument was acknowledged before me on the 21St day of June, 2016, by Carmen

Suarez-S§th. 7 ;

 

 

(ngnature of Notary)
Ot Seal -) GHECIA DIAZ
(N ary ) ’ NQTARY PUBLlC
STATE OF NEVADA

 

' _ My Commission Expires: 12-27-17
Certificate No: 14-12582-1

 

 

 

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EXHIBIT “1”

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Carmen Suarez-Smith
11003 Domoch Castle Street
Las Vegas, Nevada 89141
(702) 810-5499

 

13 October 2010 Via Certified Mai| # 7008 1830 0003 7443 3191

TO: Bank of America
450 American Street
Simi Va||ey, CA 93065

REFERENCE:
BORROWER: Thomas A. Smith
TRUSTOR: Thomas A. Smith and Carmen Suarez-Smith
PROPERTY ADDRESS: 11003 Dornoch Castle St., Las Vegas, Nevada 89141
APN NUMBER: 177-31-712-035
COUNTRYW|DE l BANK 0F AMER|CA ACCOUNT NUMBER: 154838040
CLOS|NG DATE: 11 December 2006

Dear Sir/Madame:

This letter will inform you that |, Carmen Suarez-Smith am pursuing a claim as
successor to the estate of my late husband, Thomas A. Smith, the borrower on the
above-referenced loan, pursuant to Nevada Revised Statutes 134.050.

Please be advised that, based upon information regarding the above-referenced
mortgage loan, l believe there are claims against you and your company for negligence,
breach of contract, and breach of fiduciary duty, along with other claims in law and
equity which total more in financial damages than the client’s equity (down payment),
costs of closing, all points and interest paid to date plus the par value of the subject
mortgage note.

This is a substantial claim that may exceed the policy limits on any and all insurance
policies issued that cover the risks in this claim. Therefore, please forward a copy of
this letter to any company that has issued a policy of insurance covering errors,
omissions, negligence or any other guarantee or indemnification relative to the
above-referenced loan “closing.” Failure to notify your insurance carrier may
result in denial of coverage or denial of the duty to defend.

The above-referenced loan closing involved conflicting documentation and failure to
disclose the existence and true terms of a Poo|ing and Service Agreement and
Assignment and Assumption Agreement that predated the loan closing and provided for
fees, profits and payments that were never intended to be disclosed to my husband (as
the borrower and signer of the promissory note), and that were withheld from my

Demand and Rescission - Bank of America - 13 October 2010 Page 1 of 4

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husband before, during and after the subject loan closing. lt was not until exhaustive
research was performed that the true facts are emerging, and which have caused me,
as successor to my husband, to express an immediate need and desire to rescind
the alleged subject loan transaction.

Based upon my research of news articles, court documents, and printed and recorded
interviews with people who have knowledge of the practices and policies inherent in
transactions of this nature, it is apparent that, contrary to federal and state law, you
have participated in an extended pattern of conduct to further, foster, allow and promote
an interstate conspiracy to deceive and defraud large groups of persons targeted as
prospective borrowers in the United States, which includes my husband, and were
further negligent in your supervision of your officers, directors, agents, affiliates, vendors
and employees resulting in my suffering substantial financial and other injuries.

Further, l believe that since you, your insurance carriers, your agents, servants, vendors
and employees must have known all or enough of the facts to know that my husband
was not receiving the guidance, protection, due diligence or information to which he was
entitled. Had he been apprised of the true facts, l believe he would not have executed
the papers that were presented as ordinary mortgage loan documents but which were,
in fact, part of an elaborate scheme for the execution of documents purporting to be
loan documents but actually resulted in the issuance of a negotiable instrument with the
intent on your part, but undisclosed and unknown to my husband, to change the terms
and conditions of payment of the mortgage note from its stated terms, pay fees and
profits to a variety of undisclosed third parties who were participating in the fraudulent
sale of unregulated securities which purported to be backed by the mortgage note which
my husband signed, and that appear to have misled investors into believing that the
certificates they purchased were also backed by the property secured by the mortgage
note bearing my signature.

Additionally, in light of ongoing newly-revealed information regarding appraisal fraud as
being an important aspect and necessary part of the scheme, | believe that the
appraised value used in the loan closing was not computed in accordance with industry
guidelines for using comparable time frames and geography and other indicia of
probable value. The value reported to my husband by the Lender and the Lender's
appraiser was intentionally or negligently tied to the contract price and was significantly
higher than the real fair market value at that time. This disparity since has been easily
corroborated by current values in the area, to wit: concurrent with the collapse of your
scheme, the values of the real property purchased by myself and countless others have
declined back to the levels that existed before this scheme was initiated.

This indicates a high probability that the appraisal review required of the nominal lender
was omitted and/or intentionally terminated. lt also indicates that the cost of the loan
was significantly higher that what was reported on the GFE and other disclosure
documents at the time of closing. lt is my contention that, since larger loans provided
larger mortgage-backed securities, you willingly participated in a fraud whereby you

Demand and Rescission - Bank of America - 13 October 2010 Page 2 of 4

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could increase profits by neglecting your legal duties and showing careless disregard for
the financial well-being of the borrowers you serviced, myself included.

Further, it is apparent that you were aware and participated in the deception by which
my husband was led to believe that the nominal lender was the actual lender, when in
reality the nominal lender was “renting” its registration and charter to third parties who
were neither chartered financial institutions nor registered business entities in the state
in which the property was located. | contend that you had full knowledge that the
alleged “loan” closing was a sham through which unregulated, unregistered and
unchartered people and businesses engaged in banking and lending contrary to federal
and state |aw.

The standard procedure used in these “securitized” mortgage loans is that the “loan”
was table funded and that the nominal lender was in fact merely a stand-in for a series
of parties who were not disclosed as the source of the funds, not disclosed as the
recipient of fees (including the nominal lender who may have received a fee of 2.5% of
the par value of the mortgage note), and not disclosed as the actual lender in the
subject loan transaction. Whi|e all of the participants at the “loan” closing were aware of
these facts, my husband was conveniently - but illegally - kept in the dark. As a resu|t,
my husband was never notified regarding the identity, authority, regulation, charter, or
registration of the actual lender,

By keeping my husband in the dark about all of these elements of the fraud, you have
taken his personal, sensitive information regarding his work history, social security
number, financial data, etc. and used all of it without permission to generate profits for
yourself and your company. l believe this is defined as identity theft.

Altogether, the deceptive lending practices, lack of full disclosure, appraisal fraud, and
lack of due diligence on the part of the lender concerning affordability and tangible
benefits, created a condition wherein the true term of the loan was significantly
overstated, making it highly likely that the loan would go into default at a time much
earlier than the expressed term of the mortgage note. Reducing the term of the loan to
the time of expected default and adding the inflated appraisal resulted in an APR
significantly exceeding the legal interest limit under state law. These were facts known
by every participant at the loan closing except my husband, and such practices violate
applicable laws on usury entitling my husband’s estate to nullification of the note,
extinguishment of the mortgage, treble damages and attorney fees (if needed), in
addition to the refund of all payments made, and other rebates and damages suffered.

Most importantly, it cannot be determined from the filings of the parties, nor the notices
sent to my husband as borrower, who is the current actual holder in due course, who is
entitled to payment under the mortgage note, whether additional third party payments
were made from insurance products that are reported to have guaranteed either the
payments or the principal of the mortgage note, or whether in fact the mortgage note
has been prepaid, overpaid, or any balance is owed and if so, to whom. This prevents
me from notifying the true source of funds (the actual lender) of my intent to rescind. lt is

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my determination, based upon these facts, that the loan closingwas never completed
and that therefore the 3 dav right of rescission was neither waived nor did it expire.
Under the Federal Truth in Lending Act the appropriate party must either comply
with the rescission or file a declaratory action seeking to avoid the rescission.

ln order for your institution to proceed with any foreclosure or trustee’s sale/purchase of
deed, you must be the holder/owner of the original note and mortgage, and l will
demand that the original note be produced. lt would seem obvious that, if indeed this
mortgage was pooled with many others and sold as a separate instrument, you cannot
both claim to have the original note and claim to have transferred it. Also, if the pooled
asset was sold by you to other parties, which may have included insurance
guaranteeing payment, then you have already been paid in full and no longer have any
right to foreclose, demand payment, take physical possession of the property, or
attempt to collect any other debt attached to the note and mortgage l consider any of
these actions by you to be an abuse of process and a violation of |aw, and l herewith
demand that vou cease and desist in all such actions.

ln the mean time, under separate cover, l have submitted my Qualified Written Request
under Section 6 of the Real Estate Settlement Procedures Act (RESPA) to get specific
answers to my concerns.

Un|ess these matters are properly remedied, l intend to file an action against you for
Misrepresentation based on some or all of the claims mentioned herein, and may
include other claims as they are discovered. Upon the filing of that action, a Lis
Pendens will also be recorded.

Therefore, based on all the foregoing, please respond to the issues presented in this
letter within ten (10) days of its receipt Your failure to respond within the ten-day period
will be deemed as (1) a failure and/or refusal to comply with the rescission of the loan
as stated in this letter, as well as (2) an admission that you no longer possess the
original signed promissory note and cannot lawfully continue to pursue a foreclosure
action/trustee’s sale, both of which will be included as documentary evidence in the
case file as the process moves fon/vard toward a resolve of my increasing and
continuing damages.

PLEASE GOVERN YOURSELVES ACCORD|NGLY.

Sincerely,

l
rmen S(fdérez-Smfth

Copy: RecontrustCompany

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